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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,                           CASE NUMBER
                               PLAINTIFF
                                                    CR No.        2:21-cr-00311-FMO
                        v.
RUDOLPH PETERSEN,
                                                              NOTICE TO COURT OF
                               DEFENDANT(S)                 RELATED CRIMINAL CASE

                                                     (PURSUANT TO GENERAL ORDER 14-03)


         Plaintiff United States of America hereby informs the Court that the above-entitled

criminal case may be related to United States v. Bounlom, et. al., Case No. CR 20-482-SB,

which:

           X            was previously assigned to the Honorable Stanley Blumenfeld Jr.;

                    has not been previously assigned.

The above-entitled cases may be related for the following reasons:

            X       the cases arise out of the same conspiracy, common scheme, transaction,
                    series of transactions or events;

                    the cases involve one or more defendants in common and would entail
                    substantial duplication of labor in pretrial, trial or sentencing proceedings if
                    heard by different judges.

         Additional explanation (if any):

Dated: July 6, 2021
                                                        IAN V. YANNIELLO
                                                        Assistant United States Attorney
